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                                                          Office of the Sheriff




                                                                   McINTOSH
                                        BLAIR
                                   Executive Asst. II
                                                                    Sheriff




                                                                   LAWSON
                                      NAJERA
                                   Executive Asst. I              Undersheriff




                      NIELSEN
                   IA Commander
                                                                  ri MORGEN
                                                                   PIO, CCT, CHP
                                                                     Sergeant
                                                                                                                       BAESSLER
                                                                                                                     Human Resource
                                                                                                                        Manager




                     MONARES                     KAISER              PFEFFER                            DREILING                         LEKIC
                                                                                       LARSON
                     WHYTOCK                    OVERTON             FORSMAN                             SHAKLEE                   Senior HR Specialist
                                                                                    CHP Coordinator
                    IA Sergeants             Community Policing   Communications                        VACANT
                                                Specialists         Specialists                         Detectives                    DENNINGTON
                                                                                       ALLEN
                                                                                     MANZANARES                                           LEE
                                                                                      MIKATICH                                        HR Specialist
                                                                                   Community Services
                                                                                      Specialists                                      GARFIO
                                                                                                                                      Admin Tech




                                                                                                                                  REVISED: 8/1/2018




CONFIDENTIAL - SUBJECT TO PROTECTIVE                                                                                                                     ACSO 089883
ORDER

   EXHIBIT U
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                                                                                                                                                                                                  Adams County Sheriff's
                                                                                                                                                                                                          Office
                                                                                              BLAIR                                       McINTOSH
                                                                                         Executive Asst. II                                Sheriff




                                                                                            NIELSEN
                                                                                           Commander
                                                                                                 IA
                                                                                                                                          LAWSON                                NAJ ERA
                                                                                                                                         Undersheriff                        Executive Asst. I

                                                                                          MONARES
                                                                                           Sergeant
                                                                                        Internal Affairs


                                                                                          WHYTOCK
                                                                                           Sergeant
                                                                                        Internal Affairs


                                                                                           MORGEN
                                                                                           Sergeant
                                                                                             PIO
                                                                                       Comm Connection
                                                                                          Team/CHP




                    COATES
                      Chief
                Detective Division
                                            GALLEGOS, MEZA
                                              & VENARD
                                            Admin Assistants
                                                                       CLAPS
                                                                        Chief
                                                                    Jail Division      Ii   FEOLA & MORGAN
                                                                                             Admin Assistants           1
                                                                                                                                   O'NEILL
                                                                                                                                    Chief
                                                                                                                                Patrol Division
                                                                                                                                                          JENSEN & SCOTT
                                                                                                                                                          Admin Assistants
                                                                                                                                                                                        BENSON
                                                                                                                                                                                           Chief
                                                                                                                                                                                     Prof. Standards



                                                                                                                                                                                      MCKINNEY
                                                                                                                                                                                                                      OSBORNE
                                                                                                                                                                                                                       Director
                                                                                                                                                                                                                    Admin. Services
                                                                                                                                                                                                                                           BAESSLER
                                                                                                                                                                                                                                           Manager
                                                                                                                                                                                                                                        Human Resources




                                                                                                                                                                                                                        KLUTH              GARFIO
                                                                                                                                                                                      Commander                                          Administrative
                                                                                                                                                                                                                       Manager
     CURRIER                             HEITER                      MCNAIR                                                       MITCHELL                                         FLATROCK/Training/                                     Technician
                                                                                                                                                                                                                       Finance
    Commander                          Commander                 Division Captain                                              Division Captain                                         Policies



                                                                                                                                                                                        CORDOVA                        SIG MAN
                                                                   GERDEMAN
                                                                                                            BITTERMAN                                HINRICHS                            Sergeant                      Manager
                                                                   Commander                                                                                                                                       Emergency Services
                                                                                                            Commander                               Commander                           FLATROCK
                                                                    Platoon A
     OVERTON                             COFFEE                                                            CRT, JSU, Traffic                      Admin, FTO, NMTF
     Sergeant                            Sergeant
      Persons                          Lab/Evidence                CARRILLO                                                                                                              YANG                          HOLLAND
                                                                  Commander                                  GREGORY                                 RONDOS                       Operations Supervisor                Manager
                                                                   Platoon B                                Commander                               Commander                                                      Information Tech.
                                                                                                             Platoon A                               Platoon B

      OLIVAS                             WAYMAN                    MILLER                                                                                                               KELSAY
     Sergeant                           Supervisor                Commander                                                                                                          Admin Assistant                   COLWELL
     Property                        Victim Advocates            Administration                              NANNEY                                   THEDE                                                            Manager
                                                                                                            Commander                               Commander                            MAEZ                           Records
                                                                                                             Platoon A                               Platoon B                        Administrative
                                                                   BUNGARTZ                                                                                                            Technician
     TREBLIK                            GALICIA                   Commander
     Sergeant                        Admin Assistant           Criminal Justice Ctr.
      NMTF
                                                                                                             SMALLEY
                                                                                                            Commander
                                                                   PATALUNA                                   Plains
                                                                     Manager
                                                                 Jail Population




                                                                     Manager
                                                                     Records

       Revised: 8/1/2018




CONFIDENTIAL - SUBJECT TO PROTECTIVE                                                                                                                                                                                                    ACSO 026438
ORDER
   EXHIBIT U
